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 2                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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 4
     UNITED STATES OF AMERICA,
 5                                                          CASE NO. CR11-5619 BHS
                               Plaintiff,                             CR11-5620 BHS
 6                                                                    CR12-5001BHS
                 v.
 7                                                          ORDER
   HAY THI LE, et al.,
   DEP THI LE, et al.,
 8
   MICHAEL LY, et al.,
 9                             Defendants.

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11          This matter comes before the Court on the Government’s motion to extend response

     deadline to Defendants’ oral motion to compel (Dkt. 202). The Court has considered the pleading
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     filed in support of the motion and finds that there is good cause to extend the deadline.
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     Therefore, the Court grants the motion and the Government may file a response no later than
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     September 14, 2012. Any reply shall be filed no later than September 20, 2012.
15
            IT IS SO ORDERED.
16
            Dated this 11th day of September, 2012.
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20                                                 BENJAMIN H. SETTLE
                                                   United States District Judge
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     ORDER - 1
